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 7

 8                       IN THE UNITED STATES DISTRICT COURT FOR THE

 9                             EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                       )       No. 13-CR-0053-MCE
                                                     )
                                                     )       STIPULATION AND
12          Plaintiff,                               )       ORDER CONTINUING CASE AND
13                                                   )       EXCLUDING TIME
     v.                                              )
14                                                   )
     OMAR VERA,                                      )       Date: July 18 2013
15                                                   )       Time: 9:00am.
     JOSE MORALES CASTELLON,                         )       Judge: Honorable Morrison C. England
16
     JOSE ANAYA,                                     )
     EDUARDO REYES.                                  )
17                                                   )
            Defendants.                              )
18

19

20
            IT IS HEREBY stipulated between the United States of America through its undersigned

21
     counsel, Jason Hitt, Assistant United States Attorney, attorney for plaintiff, together with

22
     Assistant Federal Defender Michael Petrik, Jr., attorney for defendant Omar Vera, Kyle Knapp,

23
     attorney for defendant Jose Morales Castellon, Michael Hansen, attorney for Jose Anaya and

24
     Ronald Peters, attorney for defendant Eduardo Reyes that the previously-scheduled status

25
     conference, currently set for July 18, 2013, be vacated and that the matter be set for status

26
     conference on September 12, 2013 at 9:00 a.m.

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 1          Counsel have conferred and this continuance is requested to allow defense counsel
 2   additional time to review the twelve Cd’s of discovery in this matter, met with our clients,
 3   investigate possible defenses and to continue exploring the facts of this case.
 4          IT IS FURTHER STIPULATED that the ends of justice served by the granting of such a
 5   continuance outweigh the best interests of the public and the defendant in a speedy trial and that
 6   time within which the trial of this case must be commenced under the Speedy Trial Act should
 7   therefore be excluded under 18 U.S.C. Section 3161(h)(7)(B) (iv), corresponding to Local Code
 8   T-4 (to allow defense counsel time to prepare) from the date of the parties’ stipulation, July 16,
 9   2013 up to and including September 12, 2013.
10   IT IS SO STIPULATED.
11
     Dated: July 16, 2013                                         BENJAMIN B. WAGNER
12                                                                UNITED STATES ATTORNEY

13                                                         by:    /s/ Jason Hitts
                                                                  JASON HITT
14
                                                                  Assistant U.S. Attorney
15                                                                Attorney for Plaintiff

16   Dated: July 16, 2013                                         /s/ Kyle Knapp
17
                                                                  KYLE KNAPP
                                                                  Attorney for Defendant
18                                                                JOSE MORALES CASTELLON
19   Dated: July 16, 2013                                         /s/ Michael Petrik, Jr.
20
                                                                  MICHAEL PETRIK, JR.
                                                                  Assistant Federal Defender
21                                                                Attorney for Defendant
                                                                  OMAR VERA
22

23   Dated: July 16, 2013                                         /s/ Michael Hansen
                                                                  MICHAEL HANSEN
24                                                                Attorney for Defendant
                                                                  JOSE ANAYA
25

26   Dated: July 16, 2013                                         /s/ Ronald Peters
                                                                  RONALD PETERS
27                                                                Attorney for Defendant
                                                                  EDUARDO REYES
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                                                 ORDER
 1
            The Stipulation of the parties is hereby accepted and the requested continuance is
 2
     GRANTED. The status conference currently scheduled for July 18, 2013 is hereby vacated and
 3
     continued to September 12, 2013 at 9:00am in Courtroom 7.
 4
            Based on the representations of the parties, the Court finds that the ends of justice served
 5
     by granting this continuance outweigh the interests of the public and the defendant in a speedy
 6
     trial. Time is excluded from the time of the filing of this stipulation on July 16, 2013 through
 7
     and including September 12, 2013.
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 9          IT IS SO ORDERED.

10   Dated: July 23, 2013
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